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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                  MIDLAND/ODESSA DIVISION

MICHAEL DEAN GONZALES,                                   §
                                                         §
                          Plaintiff,                     §
                                                         §
v.                                                       §             CIVIL NO. MO:22-cv-0046-DC
                                                         §
                                                         §
TRAVIS GOLDEN BRAGG,                                     §
District Attorney Pro Tem, Ector County;                 §             * DEATH PENALTY CASE *
                                                         §
MICHAEL GERKE, Chief,                                    §
Odessa Police Department; and                            §
                                                         §
FREEMAN MARTIN, Director,                                §
Texas Department of Public Safety;                       §
                                                         §
                          Defendants.1                   §

                                                     ORDER

        Before the Court is Plaintiff Michael Dean Gonzales’s Unopposed Motion to Lift Stay

and Reopen Proceedings (Doc. 49). Previously, this Court stayed this civil-rights proceeding to

allow time for the Texas Court of Criminal Appeals to rule on Plaintiff’s motion for rehearing in

his related state-court proceedings. (Doc. 32). The parties later requested to extend the stay

pending the resolution of a related case in the Fifth Circuit Court of Appeals. (Doc. 47). That

case has now been decided. See Reed v. Goertz, No. 19-70022, 2025 WL 1261412 (5th Cir. May

1, 2025). Plaintiff now requests that the Court lift the stay and abeyance of these proceedings

and reopen the case. He also submits a joint proposed scheduling order for the litigation of his

civil-rights complaint. Neither request is opposed by the Defendants.


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       Travis Golden Bragg has succeeded Woodson Erich Dryden as the Ector County District Attorney Pro
Tem. Freeman Martin has succeeded Steven McCraw as the Director of the Texas Department of Public Safety.
Under Rule 25(d) of the Federal Rules of Civil Procedure, Bragg and Martin are automatically substituted as parties.
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       Accordingly, it is hereby ORDERED that:

       1.        Plaintiff Michael Dean Gonzales’s Unopposed Motion to Lift Stay and Reopen

Proceedings, filed May 21, 2025 (Doc. 49), is GRANTED. The stay and abeyance previously

issued by this Court (Doc. 32) is LIFTED and this case is now REOPENED for administrative

purposes.

       2.        The Joint Proposed Scheduling Order, also filed May 21, 2025 (Doc. 49-1), is

GRANTED as follows: Defendants shall file any responsive pleading to Plaintiff’s Amended

Complaint (Doc. 23) on or before thirty (30) days from the date of this Order. Plaintiff may file

a response to Defendants’ pleadings no more than thirty (30) days after they are filed.

Defendants will then have twenty-one (21) days from the date of Plaintiff’s response to file a

reply thereto.

       It is so ORDERED.

       SIGNED this 23rd day of May, 2025.




                                     DAVID COUNTS
                                     UNITED STATES DISTRICT JUDGE




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